              Case 2:19-cr-00202-RSM Document 32 Filed 11/09/20 Page 1 of 2




 1                                                 CHIEF JUDGE RICARDO S. MARTINEZ
 2
 3
 4
                              UNITED STATES DISTRICT COURT
 5
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
     UNITED STATES OF AMERICA,                     )   No. CR19-202RSM
 8                                                 )
                     Plaintiff,                    )
 9                                                 )   ORDER GRANTING UNOPPOSED
                v.                                 )   MOTION TO SCHEDULE GUILTY
10                                                 )   PLEA HEARING VIA
     STEVEN MICHAEL BURKE,                         )   VIDEOCONFERENCE
11                                                 )
                     Defendant.                    )
12                                                 )
13          THE COURT has considered the unopposed motion of the parties to proceed

14   forward with a guilty plea hearing via teleconference and finds that:

15          (a) Under General Order 04-20, felony pleas and sentencings may proceed by

16   video or telephone if “the district judge in a particular case finds for specific reasons

17   that the plea or sentencing in that case cannot be further delayed without serious harm

18   to the interests of justice.” A plea hearing in this case cannot be delayed without serious

19   harm to the interests of justice; and

20          (b) Mr. Burke is prepared to enter into a guilty plea and resolve his case in a

21   timely fashion; and

22          (c) Mr. Burke wishes to enter a plea as soon as possible in light of anticipated

23   delay associated with the COVID pandemic and a desire to alleviate presumptive

24   backlogged court calendars following the COVID recovery process. Mr. Burke

25   understands that the Court may not be as able to accommodate a timely resolution of his

26   case in the future as more cases are delayed; and

                                                                  FEDERAL PUBLIC DEFENDER
       ORDER GRANTING UNOPPOSED MOTION                               1601 Fifth Avenue, Suite 700
       TO SCHEDULE GUILTY PLEA HEARING                                 Seattle, Washington 98101
       (United States v. Burke, CR19-202RSM) - 1                                  (206) 553-1100
              Case 2:19-cr-00202-RSM Document 32 Filed 11/09/20 Page 2 of 2




 1          (d) a videoconference guilty plea hearing would avoid further delays in the
 2   ultimate sentencing in this case, which would cause “serious harm to the interests of
 3   justice.” See General Order No. 04-20 (3/30/20).
 4          IT IS THEREFORE ORDERED that this matter should be set for a guilty plea
 5   hearing via teleconference as soon as possible.
 6
 7          DONE this 9th day of November 2020.
 8
 9
10                                                 A
                                                   RICARDO S. MARTINEZ
11                                                 CHIEF UNITED STATES DISTRICT
                                                   JUDGE
12
13
14   Presented by:
15
     s/ Sara Brin
16   Assistant Federal Defender
     Attorney for Steven Burke
17
18
19
20
21
22
23
24
25
26

                                                               FEDERAL PUBLIC DEFENDER
       ORDER GRANTING UNOPPOSED MOTION                            1601 Fifth Avenue, Suite 700
       TO SCHEDULE GUILTY PLEA HEARING                              Seattle, Washington 98101
       (United States v. Burke, CR19-202RSM) - 2                               (206) 553-1100
